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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

In Re Flint Water Cases                    No. 5:16-cv-10444

                                           HON. JUDITH E. LEVY
                                           MAG. MONA K. MAJZOUB



         STATE DEFENDANTS’ STATEMENT REGARDING
              PRELIMINARY DISCOVERY IN THE
                 COMBINED CLASS ACTION

       State Defendants include the State of Michigan, the Michigan

 Department of Environmental Quality, the Michigan Department of

 Health and Human Services, the Receivership Transition Advisory

 Board, Governor Rick Snyder, Dennis Muchmore, Andy Dillon, R. Kevin

 Clinton, Nick Lyon, Eden Wells, and Linda Dykema. By filing this

 statement, as ordered by the Court, State Defendants do not accede to

 this Court’s jurisdiction and do not waive their Eleventh Amendment

 immunity, which the U.S. Court of Appeals for the Sixth Circuit and

 this Court have recognized applies to claims similar to those previously

 filed in the combined class actions. Boler v. Earley, 865 F.3d 391, 409–

 414 (6th Cir. 2017); Guertin v. Michigan, No. 16-12412, Dkt. 151,
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 Opinion and Order Granting in Part and Denying in Part Defendants’

 Motions to Dismiss, Pg.ID ## 5581–87 (E.D. Mich. June 5, 2017). State

 Defendants maintain immunity, and other defenses, on all claims.

       Based on the Court’s July 27, 2017 Order granting in part the

 Waid motion for consolidation of the class actions and an in-person

 meet-and-confer conference that was held with co-lead class counsel and

 defendants on September 7, 2017, State Defendants respectfully submit

 the following statement regarding preliminary discovery.

       1.    July 27, 2017 Order: On July 27, 2017, this Court ordered co-

 lead class counsel to “confer with all named defendants and file either a

 joint statement regarding agreed-upon preliminary discovery or

 separate statements addressing whether preliminary discovery is

 appropriate at this juncture in the combined class action.” (Dkt. 173,

 Pg.ID # 8074.) Co-lead class counsel, liaison counsel for the individual

 plaintiffs, and defendants’ counsel met on September 7, 2017. Plaintiffs

 and defendants were unable to reach an agreement. Accordingly, State

 Defendants respectfully submit this separate statement that

 preliminary discovery is inappropriate at this stage in the litigation.




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       2.    Preliminary discovery is inappropriate: Preliminary

 discovery should not proceed until this Court resolves jurisdictional and

 other immunity and pleading deficiency issues. In addition, State

 Defendants have Fifth Amendment concerns that counsel against

 proceeding with discovery.

       3.    Eleventh Amendment immunity, state sovereignty and

 qualified immunity: State Defendants object to any discovery in the

 combined class action based on Eleventh Amendment immunity, state

 sovereignty and qualified immunity. State Defendants have repeatedly

 raised immunity defenses in their motions to dismiss filed in the class

 action lawsuits. To carry out the purpose of immunity doctrines, federal

 law provides that disclosures and discovery should be stayed until this

 Court rules on State Defendants’ motion to dismiss the master class

 action complaint. “One of the purposes of immunity, absolute or

 qualified, is to spare a defendant not only unwarranted liability, but

 unwarranted demands customarily imposed upon those defending a

 long drawn out lawsuit.” Siegert v. Gilley, 500 U.S. 226, 232 (1991).

 A defendant who asserts absolute immunity under the Eleventh

 Amendment or qualified immunity is entitled to have such immunity


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 determined as a threshold issue of law before incurring the burdens of

 litigation associated with discovery. Id. at 231 (“Until this threshold

 immunity question is resolved, discovery should not be allowed.”) (citing

 Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)); see also Mitchell v.

 Forsyth, 472 U.S. 511, 526 (1985) (relating to qualified immunity “The

 entitlement is an immunity from suit rather than a mere defense to

 liability.”) (italics in original). Immunity from suit is irrevocably lost

 and the purpose of Eleventh Amendment immunity and qualified

 immunity are frustrated if a defendant is compelled to respond to

 discovery or to make disclosures under Rule 26(a). Discovery should not

 commence until the issues of immunity are resolved. See Criss v. City of

 Kent, 867 F.2d 259, 261 (6th Cir.1988) (“discovery in litigation against

 government officials should be halted until the threshold question of

 immunity is resolved”); Kennedy v. City of Cleveland, 797 F.2d 297,

 298–99 (6th Cir.1986) (“a claim of immunity raises an interest in an

 early, and inexpensive, termination of the litigation”).

       4.    Fifth Amendment concerns: “One of the strongest cases for

 deferring civil proceedings until after completion of criminal

 proceedings is where a party under indictment for a serious offense is


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 required to defend a civil or administrative action involving the same

 matter.” Orlowski v. Bates, Case No. 2:11-CV-01396-JPM, 2015

 WL 6458108, at *1 (W.D. Tenn. Oct. 26, 2015) (citing S.E.C. v. Dresser

 Indus., Inc., 628 F.2d 1368, 1375 (D.C. Cir. 1980)) (internal quotations

 omitted). This is because “[t]he noncriminal proceeding. . . might

 undermine the party’s Fifth Amendment privilege against self-

 incrimination, expand rights of criminal discovery beyond the limits of

 Federal Rule of Criminal Procedure 16(b), expose the basis of the

 defense to the prosecution in advance of criminal trial, or otherwise

 prejudice the case.” Id. (citing Dresser Indus., 628 F.2d at 1376). This

 Court has the discretion to delay civil discovery pending the outcome of

 a related criminal proceeding. See United States v. Kordel, 397 U.S. 1,

 12 n. 27 (1970); United States v. Certain Real Property 566 Hendrickson

 Blvd., Clawson, Oakland Cty., Michigan, 986 F.2d 990, 997 (6th Cir.

 1993). Judges in this Circuit have observed, “simultaneous criminal

 and civil cases involving the same or closely related facts may give rise

 to Fifth Amendment concerns sufficient to warrant a stay of the civil

 proceedings.” Chao v. Fleming, 498 F. Supp. 2d 1034, 1037 (W.D. Mich.

 2007); see also McCloskey v. White, Case No. 3:09-CV-1273, 2011


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 WL 780793, at *1 (N.D. Ohio Mar. 1, 2011); Coley v. Lucas Cty., Ohio,

 Case No. 3:09- CV-0008, 2011 WL 5838190, at *2 (N.D. Ohio Nov. 18,

 2011); Kammer v. Cincinnati Ins. Co., Case No. 09-13177-BC, 2010

 WL 2474329, at *2 (E.D. Mich. June 11, 2010).

       State Defendants Lyon and Wells have both been criminally

 charged in state court for offenses relating to Flint’s drinking water.

 (Dkt. 169-2, Pg.ID # 6249 & Dkt. 169-3, Pg.ID # 6251.) Director Lyon’s

 preliminary exam began on September 21, 2017 and was continued to

 early October 2017. Dr. Wells’ preliminary exam is scheduled to begin

 October 9, 2017.

       It would be highly prejudicial and raise significant due process

 issues to require these State officials in particular, and all State

 Defendants generally, to respond to document requests, submit to civil

 depositions or to file written answers to Plaintiffs’ factual allegations,

 interrogatories, or requests for admissions when certain State

 Defendants are presently the subject of active parallel criminal

 proceedings in state court that relate to the same factual matters. Any

 discovery from State Defendants would implicate and could adversely

 affect these criminal proceedings.


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       Moreover, State Defendants have a common interest agreement

 and are obligated to assert and defend any confidentiality, privilege or

 privacy interest applicable to materials. Discovery in this consolidated

 class action would also implicate the terms of the common interest

 agreement.

       5.    Discovery should proceed in three phases: The Court can take

 a three-phased approach to discovery, without irrevocably damaging

 State Defendants’ immunity defenses or subjecting defendants to costly

 discovery that may or may not be relevant. This approach will also

 allow Lyon’s and Wells’ criminal cases to progress without impinging

 their Fifth Amendment rights in the civil proceedings. Importantly,

 this plan would apply to all parties because allowing discovery to

 proceed as to certain issues or defendants would prejudice State

 Defendants.

       In phase one, the Court would allow only discovery needed to

 resolve the jurisdiction issue, if any. State Defendants do not believe

 any such discovery is required as this issue is clearly established by the

 applicable law, and other decisions of this Court in related cases.




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       The Court should then decide the jurisdiction, immunity and

 pleading deficiency issues. Doing so will effectively narrow the case by

 determining which claims and defendants, if any, remain. Assuming

 any claims against any State Defendants survive phase one, then the

 parties would proceed to the next phase.

       In phase two, discovery should be limited to class certification

 issues. Before starting phase two, the Court should conduct another

 status conference and schedule a Rule 26(f) conference. The parties

 should confer regarding any limits on discovery, disclosure of privileged

 information and a protective order, production of electronically stored

 information (ESI) and an ESI order.

       In phase three, if no class is certified, then discovery from that

 point forward should be limited to the named plaintiffs. If a class is

 certified, then phase three would also involve the class plaintiffs. At

 that time, the Court should have another status conference to address

 any discovery issues pertaining to the third phase of discovery.

       6.    Coordination of discovery with state-court cases: When

 discovery commences, it should be coordinated with discovery already

 done in the state-court cases to avoid duplication and unnecessary


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 expense. State Defendants have already made voluminous non-party

 document productions in the Flint water state-court cases. The Manual

 for Complex Litigation, § 20.3, recommends coordination of discovery in

 related state and federal cases, even where the identity of the parties

 and counsel do not overlap. Here, coordination of discovery in the

 federal and state cases would be particularly seamless because liaison

 counsel for the individual cases, Corey Stern of Levy Konigsberg LLP,

 has been appointed lead counsel in the state-court cases. Thus, Class

 Plaintiffs have the option of coordinating with liaison counsel to obtain

 significant documents productions.

                                      Respectfully submitted,

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   Dated: September 29, 2017




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                                CERTIFICATE OF SERVICE

          I hereby certify that on September 29, 2017 I electronically filed

  the above document(s) with the Clerk of the Court using the ECF

  System, which will provide electronic copies to counsel of record. A copy

  of this document was sent via U.S. mail to the chambers of Honorable

  Judith E. Levy.

                                                      Respectfully submitted,

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